       Case 4:08-cr-00007-BMM Document 160 Filed 08/09/18 Page 1 of 2




               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                       GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,                         CR-08-07-GF-BMM

                        Plaintiff,
     vs.                                                 ORDER

 JAMES OSBORNE,
                       Defendant.

      Defendant has moved for an early termination of his supervised release.

(Doc. 155.) The Government opposes the motion. The Court conducted a hearing

on the motion on August 9, 2018.

      Defendant pleaded guilty to Conspiracy to Possess Methamphetamine with

the Intent to Distribute on March 27, 2008. (Doc. 55.) The Court sentenced the

Defendant to 120 months of custody followed by five years of supervised release

on July 16, 2008. (Doc. 92, 97.) After consideration of a Motion to Reduce

Sentence in accord with 18 U.S.C. § 3582 and USSG Retroactive Amendment 782,

on May 20, 2015, an Amended Judgment was issued reducing the original

custodial sentence to 98 months. (Doc. 124.) The supervised release term remained

unchanged. The Defendant began his current term of supervised release on October

31, 2015.

      The record reflects that the Defendant has complied with his supervision
       Case 4:08-cr-00007-BMM Document 160 Filed 08/09/18 Page 2 of 2



conditions. (Doc. 156 at 5.) The Defendant’s supervising probation officer advises

that he has been nothing but compliant with his conditions of supervision. (Doc.

156 at 5.) He has dedicated himself to being a positive part of his family and he

maintained employment until he started to have severe health issues. (Doc. 156 at

5.) The Defendant is seeking social security disability payments through

administrative and legal processes. (Doc. 156 at 5.) He does not pose a threat to the

community. The factors in 18 U.S.C. § 3553 support an early termination of

supervised release.

       Accordingly, IT IS ORDERED:

      1.     Defendant’s Motion for Early Termination of Supervised Release

(Doc. 155) is GRANTED.

      2.     Defendant is DISCHARGED from supervised release.

      DATED this 9th day of August, 2018.




                                          2
